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                       UNITED STATES DISTRICT COURT
17
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
19    JENNY LISETTE FLORES; et al.,        )   Case No. CV 85-4544-DMG
20                                         )
             Plaintiffs,                   )   DEFENDANTS’ MEMORANDUM OF
21                                         )   POINTS AND AUTHORITIES IN
22                v.                       )   SUPPORT OF EX PARTE
                                           )   APPLICATION FOR RELIEF FROM
23
      JEFFERSON B. SESSIONS III,           )   THE FLORES SETTLEMENT
24    Attorney General of the              )   AGREEMENT
25
      United States; et al.,               )
                                           )
26           Defendants.                   )
27                                         )
                                           )
28                                         )
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 1         I.   INTRODUCTION
 2          When the U.S. Department of Homeland Security (“DHS”) apprehends a
 3
      family with minor children illegally entering the United States outside a port of
 4
 5    entry, it traditionally has three options to choose from: (1) keep the family
 6
      together by placing the family members at an appropriate residential facility during
 7
 8    the pendency of their immigration proceedings; (2) separate the family by
 9    detaining the parents and transferring the children to U.S. Health and Human
10
      Services (“HHS”) custody; or (3) provide the family with a Notice to Appear for
11
12    removal proceedings, release the family members from custody into the interior of
13
      the United States, and accept the now-common reality that families frequently fail
14
15    to appear at the required proceedings, thus remaining illegally in the United States.
16
            Only the first option accomplishes the dual goals of enforcing federal law
17
18    and keeping families together. Accordingly, in 2015 the Government came to this

19    Court to explain the importance of family detention to both enforcing the
20
      immigration laws while avoiding family separation. See Defendants’ Motion to
21
22    Modify Settlement Agreement, ECF 120 (Feb. 27, 2015). Unfortunately, however,
23
      this Court’s construction of the Flores Settlement Agreement eliminates the
24
25    practical availability of family detention across the nation, thus creating a powerful
26    incentive for aliens to enter this country with children in violation of our criminal
27
      and immigration laws and without a valid claim to be admitted to the United
28

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 1    States, as the Government previously explained. See Declaration of Tae D.

 2    Johnson, ECF 120-1 at 2 ¶ 7 (Feb. 27, 2015).
 3
            Under current law and legal rulings, including this Court's, it is not possible
 4
 5    for the U.S. government to detain families together during the pendency of their
 6
      immigration proceedings. It cannot be done. One reason those families “decide to
 7
 8    make the dangerous journey to illegally enter the United States is that they expect
 9    to be released from custody.” Id. (emphasis added). Following the July 2015
10
      ruling, there was a 3 to 5-fold increase in the number of illegal family border
11
12    crossings. This surge is not a mere coincidence, it is the direct result of the
13
      message sent to those seeking illegal entry: we will not detain and deport you.
14
15          These realities have precipitated a destabilizing migratory crisis: tens of
16
      thousands of families are embarking on the dangerous journey to the United States,
17
18    often through smuggling arrangements, and then crossing the border illegally in

19    violation of our federal criminal law. And as the Government has previously
20
      stated, once these families are released into the interior, a vast segment fail to
21
22    appear at their immigration hearings. See Declaration of Thomas Homan, ECF
23
      184-1, at 14 ¶ 30 (Aug. 6, 2015) (in 2014-2015, out of 41,297 cases involving
24
25    families, 11,976 had already resulted in in abstentia removal orders). This entire
26    journey and ultimate crossing puts children and families at risk, and violates
27
28

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 1    criminal laws enacted by Congress to protect the border. Those illegal crossings

 2    must stop.
 3
            Since 2015, the number of families illegally crossing the southwest border
 4
 5    has increased markedly, well beyond the high levels that led to the Government’s
 6
      request for modification in 2015. Undeniably the limitation on the option of
 7
 8    detaining families together and the marked increase of families illegally crossing
 9    the border are linked. Illegal family crossings and apprehensions that were in the
10
      range of 1,000 to 3,000 per month in early 2015 dramatically increased to a range
11
12    of 5,000 to 9,000 per month in the months after July 2015, when this Court ruled to
13
      prevent the Government from detaining families together.1
14
15          In the absence of congressional action addressing border security and
16
      immigration, the President has directed the Executive Branch to take three
17
18    immediate steps to ameliorate the crisis. First, the President has directed the

19    Secretary of Homeland Security to retain custody of family units through any
20
      criminal improper entry or immigration proceedings, to the extent permitted by
21
22    law. Executive Order, Affording Congress an Opportunity to Address Family
23
      Separation §§ 1, 3, 2018 WL 3046068 (June 20, 2018).2 Second, the President has
24
25
      1
26      See https://www.cbp.gov/newsroom/stats/southwest-border-unaccompanied-
27
      children/fy-2016.
      2
        Available at https://www.whitehouse.gov/presidential-actions/affording-
28    congress-opportunity-address-family-separation/.
                                                3
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 1    directed the Department of Justice to promptly seek relief from this Court from the

 2    provisions of the Flores Settlement Agreement that “would permit the Secretary [of
 3
      Homeland Security] . . . to detain alien families together through the pendency of
 4
 5    criminal proceedings for improper entry or any removal or other immigration
 6
      proceedings.” Id. § 3(e). And the President has directed federal agencies to
 7
 8    marshal resources to support family custody and to speed up the resolution time for
 9    immigration cases involving family units by “prioritiz[ing] the adjudication of
10
      cases involving detained families.” Id. §§ 3(c), 3(d), 4.
11
12          This crisis at the border regarding illegal family crossings mandates that the
13
      Government take action. Accordingly, we ask for immediate interim relief from
14
15    this Court that would permit family detention during immigration proceedings.
16
      This Court should provide limited emergency relief in two respects. First, the
17
18    Court should provide a limited exemption from its construction of the Flores

19    Settlement Agreement’s release provisions so that ICE may detain alien minors
20
      who have arrived with their parent or legal guardian together in ICE family
21
22    residential facilities. Second, the Court should determine that the Agreement’s
23
      state licensure requirement does not apply to ICE family residential facilities.
24
25    These changes are justified by several material changes in circumstances—chief
26    among them the ongoing and worsening influx of families unlawfully entering the
27
      United States at the southwest border.
28

                                                4
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 1          The Government requests that this Court provide a prompt hearing relating

 2    to its request. The government has moved expeditiously here given the President’s
 3
      direction, but is prepared to supplement this request with further factual
 4
 5    information in advance of that hearing or at a time requested by the Court,
 6
      including updating information submitted in connection with the Government’s
 7
 8    2015 request relating to the circumstances at ICE family residential centers. The
 9    Government is also open to promptly discussing other options with Plaintiffs and
10
      the Court that will permit families to be kept together at residential facilities during
11
12    the time needed to complete immigration processing. This Court, given its
13
      ongoing exercise of jurisdiction over the Flores Settlement Agreement, has the
14
15    authority and responsibility to resolve these growing concerns by immediately
16
      permitting family detention.
17
18          II.    BACKGROUND

19          In 2015, the Government filed a motion to modify the Flores Settlement
20
      Agreement in order to exclude accompanied minors from the Agreement and
21
22    permit use of ICE family residential centers during immigration proceedings,
23
      which would have allowed the Government to exercise this option to keep families
24
25    together to the greatest extent possible during removal proceedings. See
26    Defendants’ Motion to Modify Settlement Agreement, ECF 120 (Feb. 27, 2015).
27
      In that filing, the Government explained that a “practice of general release
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 1    encourages parents to subject their children to this dangerous journey in order to

 2    avoid their own detention” and puts “unrelated children at increased risk of
 3
      trafficking by smugglers who bring them across the border in an attempt to avoid
 4
 5    detention by representing themselves as a family unit.” Declaration of Tae D.
 6
      Johnson, ECF 120-1 at 5 ¶ 11 (Feb. 27, 2015).
 7
 8          In 2015, the Government apprised this Court that a result of not amending
 9    the Flores Settlement Agreement could be the separation of families. The
10
      Government explained that DHS required “additional, family-appropriate
11
12    immigration detention capacity to hold families apprehended at the border, without
13
      requiring separation of parents from their children.” Defendants’ Opposition to
14
15    Motion to Enforce, ECF 121 at 1 (Feb. 27, 2015) (emphasis added). The
16
      Government further explained that Plaintiffs’ opposition to family detention
17
18    units—based on an agreement that arose out of litigation that was limited to

19    unaccompanied children—“threatens family unity and ignores the significant
20
      growth in the number of children . . . apprehended while unlawfully crossing the
21
22    southwest border” with and without parents. Id. at 2. The Government urged
23
      against an application of the Flores Settlement Agreement that would “mak[e] it
24
25    impossible for ICE to house families at ICE family residential centers, and to
26    instead require ICE to separate accompanied children from their parents or legal
27
      guardians.” Id. at 17 (emphasis added).
28

                                                6
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 1          This Court denied that motion in July 2015, Order, ECF 177 (July 24, 2015),

 2    and the Ninth Circuit affirmed that denial on July 6, 2016, holding that this Court
 3
      had not abused its discretion. Flores v. Lynch, 828 F.3d 898, 909-10 (9th Cir.
 4
 5    2016). In so ruling, the Ninth Circuit concluded that the Government’s request “to
 6
      exempt an entire category of migrants from the Settlement” was not “a ‘suitably
 7
 8    tailored’ response to the change in circumstances.” Id. at 910. The Ninth Circuit
 9    acknowledged, however, that “relaxing certain requirements” might be appropriate
10
      where a showing of changed circumstances has been made. Id. And in the face of
11
12    the Government’s warning that family separation could result from this Court’s
13
      decision, the Ninth Circuit specifically envisioned separating parents from their
14
15    children under the terms of the Agreement – releasing the children while
16
      maintaining detention of their parents. Flores, 828 F.3d at 908-09; see Appellants
17
18    Ninth Circuit Brief at 61, No. 15-56434 (Jan. 15, 2016).

19          The circumstances created by this application of the Agreement have
20
      become untenable. After a significant reduction in family units crossing the border
21
22    in FY 2015 when the Government was holding families together, see ECF 184-1 at
23
      8 ¶ 17, family crossings away from legal ports of entry nearly doubled in FY 2016,
24
25    as measured by apprehensions. Such apprehensions have only increased annually
26    since that time, except for a brief drop at the start of 2017—including an increase
27
      this year that, when projected to cover the full year, represents a 17% increase over
28

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 1    the illegal family entries in 2017 and a 30% increase in illegal family entries in

 2    2014, the year that prompted the Government’s prior filing with this Court. And
 3
      the increase in family entries over FY 2015 is 123%, from 39,838 in FY 2015 to a
 4
 5    number that, when projected to cover the full year, is 88,670 for FY 2018.3 The
 6
      year-to-year data follows:
 7
 8          SW Border Family Apprehensions:
 9          Fiscal Year                Family Apprehensions
10          2012                       11,116
11          2013                       14,885
12          2014                       68,445
13          2015                       39,838
14          2016                       77,674
15
            2017                       75,622
16
            2018 (8 months)            59,113 (12 month projection: 88,670).4
17
18
            The month-to-month figures show the sharp rise in family border crossings
19
20    during 2015—from a figure in the range of 1,600 to 4,000 before this Court’s July
21
22
      3
        The simple projection is based on the assumption that illegal crossers for the
23    remaining four months will arrive at the same rate as in the prior eight months, a
24    projection that does not account for seasonal variations.
      4
        See https://www.cbp.gov/newsroom/stats/sw-border-migration (2018);
25
      https://www.cbp.gov/newsroom/stats/sw-border-migration-fy2017 (2017);
26    https://www.cbp.gov/newsroom/stats/southwest-border-unaccompanied-
27
      children/fy-2016 (2012-2016). In addition, 34,650 family units who presented at
      ports of entry on the southwest border this fiscal year were determined to be
28    inadmissible. Id.
                                                8
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 1    2015 decision, to a figure ranging from 5,000 to nearly 9,000 in the months after

 2    the decision:5
 3
 4
 5          III.   APPLICABLE LEGAL STANDARDS
 6
            The Government invokes Federal Rule of Civil Procedure 60(b)(5) and
 7
 8    60(b)(6) in support of its request to modify the Flores Settlement Agreement.
 9
            A.     Federal Rule of Civil Procedure 60(b)(5)
10
11          Under Federal Rule of Civil Procedure 60(b)(5), the Court may relieve a
12    party from “a final judgment, order, or proceeding [if] applying [the prior action]
13
      prospectively is no longer equitable.” Fed. R. Civ. Proc. 60(b)(5); see Frew ex. rel.
14
15    Frew v. Hawkins, 540 U.S. 431, 441 (2004); McGrath v. Potash, 199 F.2d 166,
16
      167-68 (D.C. Cir. 1952). The party seeking relief “bears the burden of establishing
17
18    that a significant change in circumstances warrants revision of the decree.” Rufo v.
19
      Inmates of the Suffolk County Jail, 502 U.S. 367, 383 (1992). That burden may be
20
21
      met by showing “a significant change either in factual conditions or in law.” Id. at

22    384; see also Horne v. Flores, 557 U.S. 433, 447 (2009) (“[T]he passage of time
23
      frequently brings about changed circumstances—changes in the nature of the
24
25    underlying problem, changes in governing law or its interpretation by the courts,
26
27    5
       See https://www.cbp.gov/newsroom/stats/southwest-border-unaccompanied-
28    children/fy-2016.
                                                9
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 1    and new policy insights—that warrant reexamination of the original judgment.”).

 2    A motion under this section must be brought “within a reasonable time.” Fed. R.
 3
      Civ. Proc. 60(c)(1).
 4
 5          The Flores Settlement Agreement is an example of what the Supreme Court
 6
      has termed “institutional reform litigation.” Horne, 557 U.S. at 447 (quoting Rufo,
 7
 8    502 U.S. at 380). A district court’s ability to modify a decree in response to
 9    changed circumstances is heightened in institutional reform litigation. Rufo, 502
10
      U.S. at 380. “Because such decrees often remain in place for extended periods of
11
12    time, the likelihood of significant changes occurring during the life of the decree is
13
      increased.” Id. And “the public interest is a particularly significant reason for
14
15    applying a flexible modification standard in institutional reform litigation because
16
      such decrees ‘reach beyond the parties involved directly in the suit and impact on
17
18    the public’s right to the sound and efficient operation of its institutions.’” Id. at

19    381 (quoting Heath v. De Courcy, 888 F.2d 1105, 1109 (6th Cir. 1989)).
20
            B.     Federal Rule of Civil Procedure 60(b)(6)
21
22          Federal Rule of Civil Procedure 60(b)(6) allows a Court to relieve a party
23
      from “a final judgment, order, or proceeding for . . . any other reason that justifies
24
25    relief.” Fed. R. Civ. Proc. 60(b)(6). The rule generally is “used sparingly as an
26    equitable remedy to prevent manifest injustice.” United States v. Alpine Land &
27
      Reservoir Co., 984 F.2d 1047, 1049 (9th Cir. 1993). The frustration of
28

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 1    performance of a settlement agreement may provide reason to grant a motion under

 2    this Rule. Stratman v. Babbitt, 42 F.3d 1402, 1994 WL 681071, at *4 (9th Cir.
 3
      Dec. 5, 1994). A motion under this section must be brought “within a reasonable
 4
 5    time.” Alpine, 984 F.2d at 1049 (quoting In re Pacific Far East Lines, Inc., 889
 6
      F.2d 242, 249 (9th Cir. 1989)).
 7
 8          IV.    ARGUMENT
 9          This Court should provide limited emergency relief to enable the
10
      Government to keep alien families together. First, the Court should provide a
11
12    limited exemption from its interpretation of the Flores Settlement Agreement’s
13
      release provisions so that U.S. Customs and Immigration Enforcement (ICE) may
14
15    detain alien minors who have arrived with their parent or legal guardian together in
16
      ICE family residential facilities. Second, the Court should exempt ICE family
17
18    residential facilities from the Agreement’s state licensure requirement. These

19    changes are justified by several material changes in circumstances—including the
20
      worsening influx of families unlawfully entering the United States at the southwest
21
22    border.
23
            The Government does not, at this time, ask to be relieved from the
24
25    Agreement’s substantive requirements on the conditions of detention in these
26    facilities. And it does not, at this time, ask to be relieved from any other provision
27
      of the Flores Settlement Agreement that otherwise affects accompanied (or
28

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 1    unaccompanied) minors. Instead, in this motion, the Government asks for limited

 2    relief that would promote an important, widely shared goal that has spanned
 3
      administrations: keeping families together while effectively carrying out removal
 4
 5    proceedings required by immigration law.
 6
            This Court has clear authority to grant these exemptions. It should exercise
 7
 8    that authority to help keep families together. The Government seeks this
 9    emergency relief on an ex parte basis, to enable the Government both to maintain a
10
      secure southwest border while also avoiding family separations.
11
12          A.    Significant Changes in Circumstances—Including the Ongoing,
13                Worsening Influx of Family Units on the Southwest Border—
                  Show that this Court Should Modify the Flores Settlement
14                Agreement.
15
            This Court should modify the Flores Settlement Agreement in light of
16
17    “significant change[s] in circumstances.” Rufo, 502 U.S. at 383 (modification of a
18
      consent decree is appropriate when “a significant change in circumstances warrants
19
20    revision of the decree”). This changed-circumstances standard is met where there
21
      have been “changes in circumstances that were beyond the defendants’ control and
22
23
      were not contemplated by the court or the parties when the decree was entered.”

24    Id. at 380-81 (discussing Philadelphia Welfare Rights Org. v. Shapp, 602 F.2d
25
      1114, 1119-21 (3d Cir. 1979)). Several significant changes satisfy these standards.
26
27
28

                                              12
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 1          First, since the Agreement was entered, the number of persons illegally

 2    crossing the border in family units has dramatically increased and has materially
 3
      changed from what the parties or Court could reasonably have contemplated. That
 4
 5    increase has consisted in significant measure of children who are accompanied by
 6
      their parents. Although the Ninth Circuit previously found that the parties
 7
 8    “expressly anticipated an influx” when the Agreement was signed, Flores, 828
 9    F.3d at 909, nothing suggests that the parties anticipated that this increase would
10
      consist largely of children who were accompanied by their parents. Indeed, the
11
12    Agreement arose from litigation solely about unaccompanied minors. A
13
      modification is warranted to account for the important, widely shared interest in
14
15    keeping families together.
16
            The current situation is untenable. As the Government explained in 2015,
17
18    aliens cross the border illegally relying on promises from traffickers that “they will

19    not be detained but instead will be released.” Declaration of Tae D. Johnson, ECF
20
      120-1 at 2 ¶ 7. (Feb. 27, 2015). Such an incentive structure increases the chances
21
22    that an alien without a valid claim for relief in the United States will be able to
23
      remain here illegally or during lengthy removal proceedings. As the Government
24
25    explained in 2015, “detaining these individuals dispels such expectations, and
26    deters others from unlawfully coming to the United States.” Id. at 4 ¶ 8..
27
      Moreover, many of these aliens are smuggled for “significant fees” and those
28

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 1    “payments are then used by cartels to fund additional illicit and dangerous

 2    activities in the United States and Mexico.” Id. ¶ 9.   The more constrained DHS’s
 3
      ability to detain families together during the period necessary to promptly conduct
 4
 5    immigration proceedings, the more likely it is that families will attempt illegal
 6
      border crossing. As the Government explained in 2015, a “practice of general
 7
 8    release encourages parents to subject their children to this dangerous journey in
 9    order to avoid their own detention” and puts “unrelated children at increased risk
10
      of trafficking by smugglers who bring them across the border in an attempt to
11
12    avoid detention by representing themselves as a family unit.” Id. at 5 ¶ 11.
13
            Second, neither the parties nor the Court anticipated that, when the
14
15    Government first began applying the Agreement to accompanied minors, as
16
      required by this Court’s order, that shift in practice would lead to the current
17
18    situation that incentivizes a dangerous journey by family units with young

19    children, risky illegal entry attempts by families with children, and trafficking of
20
      families through Mexico in a manner contrary to the intent of asylum treaties. As
21
22    explained above, the number of family units crossing the border illegally has
23
      increased dramatically since the Government sought relief in 2015—by 30% since
24
25    the 2014 influx that led the Government to seek relief from this Court. Without the
26    option to keep families together during the pendency of removal proceedings, the
27
      Government must choose between acquiescing to and incentivizing illegal
28

                                                14
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 1    immigration by releasing all family groups, or detaining the parents but separating

 2    the family (as a result of the Agreement, as interpreted). These are precisely the
 3
      sorts of changes that warrant “relax[ation] [of] certain requirements” of the
 4
 5    Agreement. Flores, 828 F.3d at 910.
 6
            Third, class-action litigation has been filed challenging the legality of family
 7
 8    separation. In one case, the plaintiffs seek class-wide relief requiring DHS to
 9    discontinue family separation. See Ms. L. v. U.S. Immigration and Customs
10
      Enforcement, Motion, No. 18-428, ECF No. 48-1, at 26 (S.D. Cal.); see also
11
12    Mejia-Mejia v. ICE, No. 18-1445, Complaint ¶ 4 (D.D.C. filed June 19, 2018) (“If,
13
      however, the government feels compelled to continue detaining these parents and
14
15    young children, it should at a minimum detain them together in one of its
16
      immigration family detention centers”). Yet in declining the Government’s
17
18    previous request to amend the Flores Settlement Agreement, the Ninth Circuit held

19    that family separation is permissible under the Agreement, and reversed this
20
      Court’s holding that the Agreement required the release of both the parents and
21
22    children to maintain family unity. See Flores, 828 F.3d at 910 (Flores Settlement
23
      Agreement “provides no affirmative release rights for parents”). It cannot be the
24
25    case—nor is it consistent with immigration law—that the Government’s only
26    option, when facing a crisis of illegal border crossings, is simply to permit such
27
      illegality by releasing all aliens after apprehension with full knowledge that later
28

                                                15
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 1    voluntary appearance for removal proceedings is increasingly rare. This point was

 2    true when the Government made it in 2015, and it remains true today.
 3
            Finally, the President has identified this issue as a significant problem
 4
 5    warranting focused attention throughout the Executive Branch. See Executive
 6
      Order, Affording Congress an Opportunity to Address Family Separation (June 20,
 7
 8    2018). In doing so, he has directed significant resources to provide adequate
 9    facilities where families can be together, and the prioritization of their immigration
10
      proceedings to minimize the amount of detention. Id. § 4 (the “Attorney General
11
12    shall, to the extent practicable, prioritize the adjudication of cases involving
13
      detained families”). Those efforts justify renewed consideration of family custody
14
15    under the Flores Settlement Agreement.
16
            B.     Two Narrow Modifications to the Flores Settlement Agreement
17                 Are Warranted to Address the Significant Changes in
18                 Circumstances.

19          Given the circumstances set forth above, two “tailored” modifications to the
20
      Agreement are warranted at this time. Rufo, 502 U.S. at 383 (once the moving
21
22    party has established that modification is warranted, “the court should consider
23
      whether the proposed modification is suitably tailored to the changed
24
25    circumstance”).
26          First, the Court should provide the Government an exemption from
27
      Paragraph 14 of the Agreement so that children may be placed in ICE custody with
28

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 1    their parent or guardian, rather than be released to another individual or placed into

 2    HHS custody. See Flores Agreement ¶ 14 (requiring INS to “release a minor from
 3
      its custody” in certain circumstances). So long as paragraph 14 of the Agreement
 4
 5    is applied as written to accompanied children, ICE is required to separate parents
 6
      or guardians from their children in situations where the law requires detention or
 7
 8    ICE or an immigration judge determines that a parent or guardian should be
 9    detained to prevent flight or danger to the community during removal proceedings.
10
      Exempting ICE family residential centers from this requirement on the limited
11
12    basis proposed by the Government will permit DHS to more effectively prevent
13
      large numbers of alien families from illegally entering the United States through
14
15    the southwest border, while also allowing families to stay together in specially
16
      designed facilities during their criminal and removal proceedings.
17
18          Second, the Court should provide an exemption for ICE family residential

19    centers from the licensing provisions of the Agreement. Those provisions require
20
      that minors “be placed temporarily in a licensed program.” Agreement ¶ 19;
21
22    Exhibit 1 (laying out the minimum standards for conditions in facilities holding
23
      minors). A “licensed program” is one “that is licensed by an appropriate State
24
25    agency to provide residential, group, or foster care services for dependent
26    children.” Agreement ¶ 6. This exemption is necessary because of ongoing and
27
      unresolved disputes over the ability of States to license these types of facilities that
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                                                 17
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 1    house both adults and children. Exemption from this requirement is tailored to

 2    address the immediate influx with which the Government is currently dealing,
 3
      while providing time for ongoing efforts in Congress to address these issues. And
 4
 5    the Government does not now object to the requirement that ICE family residential
 6
      facilities would continue to meet the standards laid out in Exhibit 1 to the
 7
 8    Agreement.
 9          These are narrow, targeted requests aimed at addressing a specific and
10
      growing problem. Notably, while the Government continues to believe that it was
11
12    incorrect to hold that the Flores Settlement Agreement applies to accompanied
13
      minors, the Government does not seek here to “exempt an entire category of
14
15    migrants from the Settlement.” Flores, 828 F.3d at 910. Rather, at this time, the
16
      Government seeks only to permit family detention under the Agreement given the
17
18    ongoing severe influx of family units at the border.6 The Government does not

19    seek through this motion to exempt accompanied minors—or any other group—
20
      from all of the settlement provisions. The two requested exemptions are the sort of
21
22    “relax[ation] [of] certain requirements” of the Agreement that the Ninth Circuit
23
24
25
      6
26      The Government continues to disagree that the Flores Settlement Agreement
27
      covers accompanied minors and with other aspects of this Court’s rulings
      interpreting the Agreement, and preserves its arguments in the event of further
28    review .
                                                18
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 1    invited the Government to seek. Id. Relaxing these requirements would permit

 2    family units to be kept together in appropriate facilities.
 3
            The equities and human considerations strongly support this narrow relief.
 4
 5    Family detention during the pendency of removal proceedings has been a
 6
      continuing goal of DHS for a considerable time, and across administrations. DHS
 7
 8    has viewed this authority as critical to addressing the growing influx of family
 9    units illegally crossing the southwest border. The inability to employ this option
10
      creates a continued incentive for parents to bring their children on the dangerous
11
12    journey to the United States and to enter the country illegally, rather than at ports
13
      of entry. Entering illegally provides two opportunities to remain in the United
14
15    States for a family with no valid asylum claim—either if the family evades
16
      detection entirely or if the family is caught and then released, the family unit
17
18    disappears. Proposed legislation in Congress seeks to address the issues created by

19    the limitations that the Agreement, as it has been interpreted, places on the
20
      Government’s ability to use ICE family residential centers. This process is fluid,
21
22    but the emergency currently existing on the southwest border requires immediate
23
      action. This Court can take such action to help address this urgent problem.
24
25                                        *      *      *
26          The Government is prepared to make a more thorough showing, if
27
      necessary, in support of this request to amend the Flores Settlement Agreement.
28

                                                 19
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 1    The Government respectfully requests a prompt hearing on its request for

 2    immediate relief, together with any additional proceedings the Court believes
 3
      appropriate.
 4
 5          V.       CONCLUSION
 6
             For the above reasons, the Government respectfully asks this Court to grant
 7
 8     limited emergency relief that would: (1) exempt DHS from the Flores Settlement
 9     Agreement’s release provisions so that ICE may detain alien minors who have
10
       arrived with their parent or legal guardian together in ICE family residential
11
12     facilities; and (2) exempt ICE family residential facilities from the Agreement’s
13
       state licensure requirement. The Government is not asking to be relieved from the
14
15     substantive language of the Agreement on the conditions of detention in these
16
       facilities. The Government asks for immediate relief, along with a schedule to
17
18     allow the parties to more fully address the issues raised by this request.

19
20    DATED:         June 21, 2018            Respectfully submitted,
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22                                            CHAD A. READLER
                                              Acting Assistant Attorney General
23
24                                            /s/ August E. Flentje
25
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                                              Special Counsel to the Assistant Attorney
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28

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                                      #:17557



 1                              CERTIFICATE OF SERVICE

 2
            I hereby certify that on June 21, 2018, I served the foregoing pleading on all
 3
 4    counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5    system.
 6
                                                   /s/ August E. Flentje
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